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                                         U.S. Department of Justice
                                                                                           Page 1
                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007
                                                     February 12, 2019
By ECF
The Honorable Lorna G. Schofield
United States District Judge
40 Foley Square
New York, NY 10007

        Re:      PEN American v. Trump, 18 Civ. 9433 (LGS)

Dear Judge Schofield:

        This Office represents defendant President Donald J. Trump in this First Amendment
action brought by plaintiff PEN American Center, Inc. (“PEN American”). I write respectfully
pursuant to the Court’s January 30, 2019 Order, ECF No. 35, and Rules III.A.1 and III.C.2 of the
Court’s Individual Rules and Procedures for Civil Cases to lay out the bases of defendant’s
anticipated motion to dismiss plaintiff’s amended complaint under Rules 12(b)(1) and 12(b)(6)
of the Federal Rules of Civil Procedure and to propose on consent a schedule for the parties to
brief defendant’s anticipated motion to dismiss.

   I.         Plaintiff’s Amended Complaint

    Plaintiff PEN American, Inc., an association advocating on behalf of writers, alleges that
defendant has taken or encouraged actions intended to chill speech critical of himself or his
administration. Plaintiff alleges four retaliatory actions taken or encouraged by defendant. First,
plaintiff alleges that White House Press Secretary Sarah Huckabee Sanders suspended the press
pass of non-party Jim Acosta, one of plaintiff’s members, after Acosta questioned defendant.
Amended Complaint (“AC”), Dkt. No. 38, ¶¶ 38–44. After Acosta filed his own lawsuit—since
dismissed—his pass was restored. Id. ¶ 44. Second, plaintiff alleges that defendant revoked the
security clearance of non-party John Brennan, the former director of the Central Intelligence
Agency. Id. ¶¶ 49, 53. Third, plaintiff alleges that the United States Postal Service (“USPS”)
and the USPS Task Force have proposed or recommended increases in shipping rates, because
defendant expressed a desire to punish online retailer Amazon.com, Inc. (“Amazon”) for the
speech of the Washington Post, a newspaper owned by Amazon’s Chief Executive Officer and
principal shareholder, Jeff Bezos. Id. ¶¶ 55, 72–73. Fourth, plaintiff alleges that defendant and
his associates made statements critical of the Cable News Network (“CNN”) and the proposed
merger of CNN’s parent company and AT&T, Inc., before the Department of Justice (“DOJ”)
filed a lawsuit to block the merger. See id. ¶¶ 74–81. Other than these four actions, Plaintiff
alleges in broad terms that defendant has criticized the press and has threatened—although not
followed through on—possibly retaliatory actions, including regulation of technology
companies, id. ¶¶ 82–86, revocation of broadcast licenses, id. ¶¶ 87–91, revocation of security
clearances for former government officials, id. ¶¶ 49–52, and denial of access to White House
news events, id. ¶¶ 31–36.
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    On February 6, 2019, plaintiff filed its amended complaint, raising three claims under the
First Amendment—first, for alleged retaliation for critical reporting; second, for alleged
retaliatory threats; and third, for an alleged violation of the right to receive information. See id.
¶¶ 115–36. Plaintiff seeks declaratory and injunctive relief, namely a declaration that
defendant’s allegedly retaliatory actions violated the First Amendment and an injunction
forbidding defendant from directing any subordinate to take any official action in retaliation for
speech critical of defendant’s administration. See id. Prayer for Relief.

   II.     Plaintiff lacks Article III standing.

           A. Plaintiff lacks organizational standing

     Plaintiff lacks standing to bring any claims on its own behalf. To bring claims on its own
behalf, plaintiff must establish organizational standing by showing “(i) an imminent injury in fact
to itself as an organization (rather than to its members) that is distinct and palpable; (ii) that its
injury is fairly traceable to [allegedly retaliatory actions]; and (iii) that a favorable decision
would redress its injuries.” Centro de la Comunidad Hispana de Locust Valley v. Town of
Oyster Bay, 868 F.3d 104, 109 (2d Cir. 2017) (internal quotation marks omitted).

    Plaintiff’s allegations of impairment of its and its members’ receipt of information and
subjective chilling effects of its members’ speech—to the extent plaintiff has not also alleged
that its members have overcome any chilling effects—are insufficient to support Article III
standing. Under Laird v. Tatum, 408 U.S. 1 (1972) and its progeny, such allegations of a
subjective chill—or allegations of impaired receipt of information as a result of any subjective
chill—are insufficient to support Article III standing. In addition, plaintiff’s alleged injuries are
insufficiently imminent to support standing to seek injunctive relief. See Los Angeles v. Lyons,
461 U.S. 95, 105–07 (1983).

    Plaintiff’s complaint also fails to establish the latter two elements of standing. Plaintiff’s
alleged injuries are not fairly traceable to defendant’s alleged actions as President, which
primarily consist of public statements directed at non-parties. A favorable decision would not
redress plaintiff’s injuries because, as discussed below, the Court lacks jurisdiction to enter
injunctive and declaratory relief against the President in this context. Moreover, the
requirements of Federal Rule of Civil Procedure 65(d)(1)(B)-(C) prevent the Court from entering
the open-ended injunctive relief sought by plaintiff. See AC, Prayer for Relief.

           B. Plaintiff lacks associational standing.

    Plaintiff lacks associational standing to bring claims on behalf of any its members. An
association attempting to sue on behalf of its members must show that “(a) its members would
otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane
to the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires
the participation of individual members in the lawsuit.” Hunt v. Washington State Apple
Advertising Comm’n, 432 U.S. 333, 343 (1977). Plaintiff has not identified any member who has
suffered an injury presently sufficient to support standing in his or her own right. To the extent
plaintiff has alleged its members could bring claims on their own behalf, plaintiff’s claims of
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chilling and its requested relief require its members’ individual participation in the present suit.

    III.    This Court lacks jurisdiction to grant declaratory or injunctive relief against the
            President in this context.

    This Court lacks jurisdiction to enter the relief sought by plaintiff against the President. The
Supreme Court has repeatedly held that, in general, the federal courts may not enter injunctive
relief against the President in the context of his official duties. See Franklin v. Massachusetts,
505 U.S. 788, 802–03 (1992) (plurality opinion). The separation of powers principles that
prevent the federal courts from enjoining the President’s official acts also prevent them from
entering declaratory relief against the President. See id. at 827–28 (Scalia, J., concurring).

    IV.     Plaintiff has failed to plausibly state a claim upon which relief can be granted.

    Plaintiff’s complaint should be dismissed even if plaintiff could overcome jurisdictional
impediments. Plaintiff has not alleged that any action taken or threatened by defendant is
unlawful, apart from alleged retaliatory taint. Plaintiff’s claims are thus properly understood as
First Amendment retaliation claims.

    Plaintiff has failed to plausibly allege the elements of a First Amendment retaliation claim.
“To plead a First Amendment retaliation claim a plaintiff must show: (1) he has a right protected
by the First Amendment; (2) the defendant’s actions were motivated or substantially caused by
plaintiff’s exercise of that right; and (3) the defendant’s actions caused him some injury.” Smith
v. Campbell, 782 F.3d 93, 100 (2d Cir. 2015) (brackets omitted). With respect to the second
element of a First Amendment retaliation claim, plaintiff has failed to adequately allege that its
protected speech or the protected speech of any of its members motivated defendant to take any
action.

    With respect to the third element of a First Amendment retaliation claim, the Second Circuit
has explained that a plaintiff has adequately alleged injury for purposes of a First Amendment
retaliation claim “if he can show either that his speech has been adversely affected by the
government retaliation or that he has suffered some other concrete harm.” Dorsett v. County of
Nassau, 732 F.3d 157, 160 (2d Cir. 2013). Plaintiff has failed to adequately allege that it or its
members’ speech has been adversely affected by defendant’s actions. On the contrary, it alleges
that “[p]laintiff’s members produce, and plan to produce in the future, work . . . that is . . . critical
of the . . . President and his Administration.” AC ¶ 27. Plaintiff’s complaint does not contain
plausible allegations of other unremedied concrete harms suffered by plaintiff or its members
caused by defendant’s actions.

    V.      The parties have agreed upon a proposed briefing schedule.

    The parties have agreed upon the following proposed briefing schedule for defendant’s
anticipated motion to dismiss: Defendant will move to dismiss the Amended Complaint by April
11, 2019; plaintiff will file opposition papers to defendant’s motion to dismiss by May 10, 2019;
and defendant will file reply papers by May 24, 2019.
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Thank you for your consideration.

                                          Respectfully submitted,
                                          GEOFFREY S. BERMAN
                                          United States Attorney
                                    By:   /s/ Steven J. Kochevar
                                          Steven J. Kochevar
                                          Assistant United States Attorney
                                          Telephone: (212) 637-2715
                                          Fax: (212) 637-2717
                                          Email: steven.kochevar@usdoj.gov
